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                   8
                                         UNITED STATES DISTRICT COURT
                   9
                                       CENTRAL DISTRICT OF CALIFORNIA
              10
              11                                   WESTERN DIVISION

              12
                       NCS PEARSON, INC. d/b/a                 CASE NO. 2:22-cv-1922
              13
                       PEARSON VUE,
                                                               NOTICE OF REMOVAL OF STATE
              14
                                     Plaintiff,                COURT ACTION PURSUANT TO
              15                                               28 U.S.C. §§ 1441, 1331, AND 1338(a)
                            v.
              16
                       TRADING DIEM, INC., a California        From the Superior Court of the
              17       company; and PSI SERVICES LLC,          State of California, County of
              18                                               Los Angeles, Case No. 21VECV00214
                                     Defendants.
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                                                                        NOTICE OF REMOVAL OF STATE COURT
ATTORNEYS AT LAW
  LOS AN GE LES
                                                                               ACTION PURSUANT TO 28 U.S.C.
                                                                                    §§ 1441, 1331, AND 1338(a)
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                   1 TO THE CLERK AND THE UNITED STATES DISTRICT COURT FOR
                   2 THE CENTRAL DISTRICT OF CALIFORNIA, AND TO PLAINTIFF AND
                   3 ITS ATTORNEYS OF RECORD:
                   4        PLEASE TAKE NOTICE THAT defendant PSI Services LLC (“PSI”)
                   5 hereby removes the above-captioned action from the Superior Court of the State of
                   6 California in and for the County of Los Angeles to the United States District Court
                   7 for the Central District of California, Western Division.
                   8        PSI is entitled to remove the above-captioned action to federal court pursuant
                   9 to 28 U.S.C. §§ 1441(a), 1331, 1338(a), and the following facts:
              10                                 PROCEDURAL HISTORY
              11            On February 19, 2021, Plaintiff NCS Pearson, Inc. d/b/a Pearson VUE
              12 (“Plaintiff”) filed a Complaint (attached hereto as Ex. 1) in the Superior Court of the
              13 State of California in and for the County of Los Angeles, initiating an action assigned
              14 Case No. 21VECV00214 (the “State Court Action”). Trading Diem, Inc. (“Trading
              15 Diem”) was named as the sole defendant.
              16            On April 9, 2021, Trading Diem filed an Answer to the Complaint (attached
              17 hereto as Ex. 13), generally denying all allegations in the Complaint, asserting
              18 affirmative defenses, and requesting a jury trial.
              19            On December 21, 2021, Plaintiff filed a Motion for Leave to Amend the
              20 Complaint, which proposed to add PSI as a defendant in the State Court Action. The
              21 Court granted Plaintiff’s Motion for Leave to Amend the Complaint on January 19,
              22 2022. See Exs. 22, 30.
              23            On January 20, 2022, Plaintiff filed a First Amended Complaint (attached
              24 hereto as Ex. 31, the “FAC”), naming Trading Diem and PSI as defendants. PSI was
              25 not served with the summons and FAC until March 22, 2022.
              26            True and correct copies of all records on file in the State Court Action are
              27 attached hereto as Exhibits 1 through 39. Currently, no motion or hearing in the
              28 State Court Action is pending.

                                                                           NOTICE OF REMOVAL OF STATE COURT
ATTORNEYS AT LAW                                                2                 ACTION PURSUANT TO 28 U.S.C.
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                                                                                       §§ 1441, 1331, AND 1338(a)
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                   1                THE STATE COURT ACTION IS REMOVABLE
                   2        The State Court Action is removable to this Court because Plaintiff brings its
                   3 first claim for relief under the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C.
                   4 § 1030, and its third claim for relief under the Digital Millennium Copyright Act
                   5 (“DMCA”), 17 U.S.C. § 1201(a)(1). See FAC ¶¶ 29-39, 53-65. Accordingly, the
                   6 essential condition of removal—“whether the case originally could have been filed
                   7 in federal court”—is undoubtedly met here. City of Chicago v. Int’l College of
                   8 Surgeons, 522 U.S. 156, 163 (1997). Plaintiff’s claims under the CFAA and DMCA
                   9 make the State Court Action a case “arising under the … laws … of the United
              10 States,” over which this Court has original jurisdiction on “federal question”
              11 grounds. See 28 U.S.C. § 1331. Such a case is removable pursuant to 28 U.S.C.
              12 § 1441(a), which provides that “any civil action brought in a State court of which
              13 the district courts of the United States have original jurisdiction may be removed by
              14 the defendant or the defendants, to the district court of the United States for the
              15 district and division embracing the place where such action is pending.” The
              16 presence of a single federal law claim is sufficient to remove an entire action. See
              17 Embury v. King, 361 F.3d 562, 565 (9th Cir. 2004) (“removal is not of a claim, but
              18 of the ‘case’”); City of Chicago, 522 U.S. at 165 (“once the case was removed, the
              19 District Court had original jurisdiction over [plaintiff’s] claims arising under federal
              20 law, and thus could exercise supplemental jurisdiction over the accompanying state
              21 law claims”).
              22            The State Court action is also removable pursuant to 28 U.S.C. § 1338(a),
              23 which provides an independent basis for federal jurisdiction. That statute grants “the
              24 district courts” original and exclusive jurisdiction over “any civil action arising
              25 under any Act of Congress relating to … copyrights.” Plaintiff brings its third claim
              26 for relief under the DMCA, 17 U.S.C. § 1201(a)(1). See FAC ¶¶ 53-65. As
              27 discussed above, such a case is removable pursuant to 28 U.S.C. § 1441(a) which
              28 allows for the removal of any action of which the district courts have original

                                                                           NOTICE OF REMOVAL OF STATE COURT
ATTORNEYS AT LAW                                                3                 ACTION PURSUANT TO 28 U.S.C.
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                                                                                       §§ 1441, 1331, AND 1338(a)
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                   1 jurisdiction. Additionally, 28 U.S.C. § 1441(f) provides: “The court to which a civil
                   2 action is removed under this section is not precluded from hearing and determining
                   3 any claim in such civil action because the State Court from which such civil action
                   4 is removed did not have jurisdiction over that claim.” Thus, the fact that the state
                   5 court lacked jurisdiction over the copyright claim—which should have been brought
                   6 in federal court—does not preclude removal here.
                   7                       COMPLIANCE WITH 28 U.S.C. § 1446
                   8         This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of
                   9 Civil Procedure, and copies of all filed records in the State Court Action are attached
              10 hereto as Exhibits 1 through 39. See 28 U.S.C. § 1446(a).
              11             This Notice of Removal has been filed within the time period prescribed by
              12 28 U.S.C. § 1446(b)(2)(B)—i.e., within 30 days of service of process of the
              13 summons and operative complaint on the later served defendant, PSI, which
              14 occurred on March 22, 2022. See Murphy Bros., Inc. v. Michetti Pipe Stringing,
              15 Inc., 526 U.S. 344, 347-48 (1999); Robertson v. GMAC Mortg., LLC, 640 F. App’x
              16 609, 611 n.3 (9th Cir. 2016) (“the thirty-day period under § 1446(b) begins to run
              17 when the defendant is properly served with process”); Destfino v. Reiswig, 630 F.3d
              18 952, 956 (9th Cir. 2011) (“each defendant is entitled to thirty days to exercise his
              19 removal rights after being served”).
              20             As required by 28 U.S.C. § 1446(b)(2)(A) and (C), PSI avers that Trading
              21 Diem consents to the removal of this action. See Proctor v. Vishay Intertechnology
              22 Inc., 584 F.3d 1208, 1225 (9th Cir. 2009) (consent of all defendants is satisfied where
              23 “one defendant avers that all defendants consent to removal”).
              24             Promptly after the filing of this Notice, PSI will give written notice to Plaintiff
              25 and will file a copy of this Notice with the clerk of the Superior Court of the State
              26 of California in and for the County of Los Angeles. See 28 U.S.C. § 1446(d).
              27
              28

                                                                               NOTICE OF REMOVAL OF STATE COURT
ATTORNEYS AT LAW                                                   4                  ACTION PURSUANT TO 28 U.S.C.
  LOS AN GE LES
                                                                                           §§ 1441, 1331, AND 1338(a)
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                   1        PSI does not waive, and expressly preserves, all objections, defenses, and
                   2 exceptions to the complaint authorized by law, including but not limited to those
                   3 permitted pursuant to Rules 4 and 12 of the Federal Rules of Civil Procedure.
                   4        WHEREFORE, PSI removes the State Court Action to this Court.
                   5 Dated: March 24, 2022                  Respectfully submitted,
                   6                                       LATHAM & WATKINS LLP
                   7                                       By /s/ Joshua G. Hamilton
                                                             Joshua G. Hamilton
                   8                                         Attorneys for Defendant
                   9                                         PSI Services LLC

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                                                                          NOTICE OF REMOVAL OF STATE COURT
ATTORNEYS AT LAW                                               5                 ACTION PURSUANT TO 28 U.S.C.
  LOS AN GE LES
                                                                                      §§ 1441, 1331, AND 1338(a)
